     Case 2:05-cv-72276-MOB-DAS ECF No. 14 filed 12/13/06         PageID.317     Page 1 of 1
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

MARY MICKALICH and ALBERT MICKALICH,               CASE NUMBER: 05-72276
                                                   HON. MARIANNE O. BATTANI
                            Plaintiffs,

v.

UNITED STATES OF AMERICA,

                            Defendant.
                                               /


           ORDER DENYING DAUBERT MOTION TO EXCLUDE THE OPINION
                     TESTIMONY OF DAVID KESTNER, and
     ORDER DENYING MOTION IN LIMINE REGARDING DEFENDANT’S SPOILATION OF
              EVIDENCE & PROFFERED TESTIMONY OF SMITH KALITA


        Pending before the Court is Defendant’s Daubert Motion to Exclude the Opinion Testimony

of David Kestner (Doc. #11), filed on November 20, 2006.       A hearing having been held on

November 27, 2006, that motion is hereby DENIED.

        Also pending before the Court is Plaintiff’s Motion in Limine Regarding Defendant’s

Spoilation of Evidence & Proffered Testimony of Smith Kalita (Doc. #12), filed on November 20,

2006. A hearing having been held on November 27, 2006, that motion is hereby DENIED.

        IT IS SO ORDERED.


DATED: 12/13/06                  s/Marianne O. Battani
                                MARIANNE O. BATTANI
                                UNITED STATES DISTRICT JUDGE
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                            CERTIFICATE OF SERVICE

      Copies of this Order were mailed and/or electronically filed to Hugh Davis, Robert Horvath
and Rodney Patton on this date.

                                          s/Colette Motowski
                                          Deputy Clerk
December 13, 2006
